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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT TACOMA
 9
10 UNITED STATES OF AMERICA,                            )       NO. CR13-5308BHS
                                                        )
11                         Plaintiff,                   )
12                                                      )
                   v.                                   )       ORDER
13                                                      )       Re: GOVERNMENT’S
14 RAY EUGENE CALDWELL and                              )       MOTION IN LIMINE
   ALL OUT SEWER AND DRAIN                              )
15 SERVICE, INC.,                                       )
                                                        )
16                         Defendants.                  )
17                                                      )

18
            The United States has moved in limine to exclude evidence and argument that (1) the
19 Defendant did not know the legal requirements of the Clean Water Act; (2) the Defendant had a
20 good faith belief that he was complying with the law; (3) there was insufficient actual
21 environmental harm; and (4) the discharge was de minimis.
22          The Court, having received and reviewed the motion and arguments included therein,
23 makes the following ruling:
24          IT IS ORDERED that the Defendants are prohibited from introducing any evidence or

25 arguing that (1) the Defendant did not know the legal requirements of the Clean Water Act; (2)
26 the Defendant had a good faith belief that he was complying with the law; (3) there was
     insufficient actual environmental harm; and (4) the discharge was de minimis.
27
28
     ORDER RE: GOVERNMENT’S                                                     UNITED STATES ATTORNEY
                                                                               700 STEWART STREET, SUITE 5220
     MOTION IN LIMINE 1                                                          SEATTLE, WASHINGTON 98101
                                                                                       (206) 553-7970
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 1          Such evidence is not relevant to any of the elements the government must prove at trial,
 2 or defenses that could be raised, and would lead to undue delay and confusion. This order does
 3 not preclude the defense from raising a mistake-of-fact defense.
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            DATED this 22nd day of August, 2013.
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11                                               BENJAMIN H. SETTLE
                                                 United States District Judge
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     Presented by:
16
     s/ James D. Oesterle
17 JAMES D. OESTERLE
18 Assistant United States Attorney
     WSBA #16399
19 United States Attorney’s Office
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     ORDER RE: GOVERNMENT’S                                                      UNITED STATES ATTORNEY
                                                                                700 STEWART STREET, SUITE 5220
     MOTION IN LIMINE 2                                                           SEATTLE, WASHINGTON 98101
                                                                                        (206) 553-7970
